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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,

                             Plaintiffs,     Civil Action No. 3:17-cv-00072-NKM

    v.

    JASON KESSLER, et al.,

                             Defendants.


         PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT
                   MATTHEW HEIMBACH’S MOTION TO DISMISS
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         Plaintiffs respectfully submit this memorandum of law in opposition to Defendant Matthew

  Heimbach’s Motion to Dismiss (the “Second Motion to Dismiss,” “Second Motion,” or “Motion”),

  filed with the Court on July 11, 2019. ECF No. 520.

                                 PRELIMINARY STATEMENT

         Well over a year ago, on January 26, 2018, Heimbach, a leader in the white supremacy

  movement and one of the architects of the violent, racially-motivated conspiracy that led to

  Plaintiffs’ injuries, moved to dismiss Plaintiffs’ First Amended Complaint (“FAC”). As with the

  similar motions to dismiss brought by his fellow Defendants, this Court largely denied Heimbach’s

  first motion to dismiss. On July 9, 2018, the Court held that Plaintiffs had plausibly alleged that

  Defendants, including Heimbach, had entered into a conspiracy to commit racially-motivated

  violence at the Unite the Right events in Charlottesville in August 2017, and that Defendants could

  not, on a motion to dismiss, seek cover under the First Amendment or avoid responsibility by

  blaming others for Plaintiffs’ injuries. Now, after months of inaction—including ignoring his

  discovery obligations, flouting the Court’s orders, and repeatedly failing to appear at court

  conferences—Heimbach has finally reappeared and, now pro se, brings the Second Motion to

  Dismiss, asserting the same arguments that he and his fellow Defendants already made 18 months

  ago and on which the Court ruled over a year ago. The law-of-the-case doctrine prohibits a second

  bite at that apple. The Court should deny Heimbach’s frivolous and vexatious Motion and award

  Plaintiffs’ attorneys’ fees and costs for opposing his Second Motion to Dismiss.

                                          BACKGROUND

         On January 5, 2018, Plaintiffs filed the FAC in this action. ECF No. 175. Pursuant to a

  consent motion to which all non-defaulted Defendants, including Heimbach, agreed, the deadline

  to file motions to dismiss the FAC was January 26, 2018—nearly 18 months ago. ECF Nos. 186,

  187.
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         On or around January 26, 2018, a majority of the Defendants moved to dismiss the FAC in

  six separate motions. 1 ECF Nos. 95, 201–09, 212–13. Heimbach, who was at the time represented

  by attorneys Elmer Woodard and James E. Kolenich, was among the defendants who moved to

  dismiss the FAC. ECF Nos. 205–06. 2 Heimbach’s motion to dismiss argued, inter alia, that

  Plaintiffs had failed to state a claim under 42 U.S.C. § 1985(3) because they had not plausibly

  alleged “an agreement to commit unlawful actions,” and that Defendants had merely engaged in

  “racially insulting language” rather than “a conspiracy to commit race-based violence.” ECF No.

  206 at 6–7. Heimbach’s co-Defendants’ motions to dismiss additionally argued, inter alia, that

  the First Amendment protected their actions; that the police and “antifa,” rather than Defendants,

  were responsible for the violence that occurred in Charlottesville; and that Defendants had

  obtained a legal permit for the rally. E.g., ECF No. 95 at 10–13 (motion to dismiss filed by

  Defendants Hill, Tubbs, and League of the South); ECF No. 204 at 7–10 (Defendant Fraternal

  Order of the Alt-Knights); ECF No. 209 at 6–18 (Defendant Spencer); ECF No. 213 at 5–19

  (Defendant Peinovich). The motions to dismiss were fully briefed on March 6, 2018, and argument

  was heard on May 24, 2018. ECF Nos. 231, 251, 253, 316.

         On July 9, 2018, the Court largely denied the motions to dismiss. 3 ECF Nos. 335, 336.

  The Court summarized certain of the allegations relating to Heimbach in part as follows:


  1
         Defendants Fields, Anglin, Moonbase Holdings, LLC, Invictus, Loyal White Knights of
  the Ku Klux Klan, and East Coast Knights of the Ku Klux Klan did not move to dismiss.
  2
          At the time, Woodard and Kolenich represented and moved to dismiss on behalf of
  Christopher Cantwell, Nathan Damigo, Matthew Heimbach, Identity Evropa, Jason Kessler, Elliot
  Kline, National Socialist Movement, Nationalist Front, Matthew Parrott, Robert Azzmador Ray,
  Jeff Schoep, Traditionalist Worker Party, and Vanguard America. ECF No. 205.
  3
          The Court granted without prejudice (1) Defendant Michael Peinovich’s motion to dismiss;
  (2) Defendants’ motions to dismiss claims by one Plaintiff; and (3) Defendants’ motions to dismiss
  certain claims brought under Virginia state law. ECF No. 336. The Court otherwise denied
  Defendants’ motions to dismiss. Id.


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                  Defendants Matthew Heimbach and Matthew Parrott are leaders of
                  Defendant Traditionalist Worker Party, an anti-Semitic organization
                  with around 500 members. These Defendants . . . allegedly engaged
                  in many of the most specific acts of violence in furtherance of the
                  conspiracy. . . . In addition to planning, and as mentioned above, a
                  member of co-Defendant Vanguard America used Discord to
                  distribute a drawing of Defendant Heimbach with “kill tallies” of
                  communists, the words “nigger killer,” and drawing of decapitated
                  black men.

                           On the morning of the 12th, members of Defendant
                  Traditionalist Worker Party met with members from Defendants
                  Nationalist Front, League of the South, and National Socialist
                  Movement “at a pre-set location in order to march to Emancipation
                  Park in formation.” Defendants Parrott, Heimbach, and other
                  Traditionalist Worker Party members then marched behind
                  Defendant League of the South. Defendants in these formations
                  “charged through the peaceful clergy when they arrived at the park
                  . . . and Plaintiff Wispelwey was knocked into a bush.”

  ECF No. 335 at 34–35 (citations omitted).

          Based on these and other allegations, the Court held that Plaintiffs had “plausibly allege[d]”

  that Heimbach had “joined the conspiracy to commit racial violence.” Id. at 35. Furthermore, the

  Court explained, “As with other Defendants, the First Amendment does not prevent the imposition

  of liability for the acts of violence alleged here.” Id.

          On July 23, 2018, while still represented by counsel, Heimbach answered the FAC. ECF

  No. 343.

          In January 2019, after six months of failing to participate in or respond to discovery,

  Heimbach fired his attorneys, explicitly forbidding them from “tak[ing] any actions on his behalf.”

  ECF No. 457-23 at 14 (Jan. 4, 2019 Hr’g Tr. at 14:08–13); see also ECF No. 457 at 9–11

  (Plaintiffs’ motion for sanctions summarizing Heimbach’s non-compliance with discovery). After

  becoming pro se, Heimbach continued to ignore his discovery obligations throughout the first half

  of 2019, including failing to appear at at least six court conferences, and refusing to answer more




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  than ten email, physical mail, and voicemail communications from the Court and Plaintiffs. ECF

  No. 457 at 12–13. Only after Plaintiffs were forced to file a motion for sanctions against Heimbach

  did Heimbach suddenly resurface in June 2019 and begin participating in the litigation. See ECF

  Nos. 457, 494, 512, 515, 519.

         On July 11, 2019, Heimbach filed with the Court the Second Motion to Dismiss. ECF No.

  520. The Motion argues that Plaintiffs failed plausibly to allege that Heimbach had participated

  in a conspiracy to commit violence; that the First Amendment protected his actions; that the

  violence that erupted in Charlottesville was the fault of the Charlottesville police and violent

  “antifa” counter-protesters; and that the Unite the Right participants had a legal permit to hold the

  rally on August 12, 2017. See generally id. Heimbach also asserts throughout the Motion that

  various allegations in the FAC are factually incorrect or “lie[s].” See generally id.

                                     STANDARD OF REVIEW

         “A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) tests the legal

  sufficiency of a complaint to determine whether the plaintiff has properly stated a claim[.]” Morris

  v. Fletcher, No. 7:15-cv-00675, 2017 WL 1161888, at *1 (W.D. Va. Mar. 27, 2017) (Moon, J.).

  “In considering a Rule 12(b)(6) motion, a court must accept all factual allegations in the complaint

  as true and must draw all reasonable inferences in favor of the plaintiff.” Id. To survive, a

  complaint “must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that

  is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

  Twombly, 550 U.S. 544, 570 (2007)). A claim is plausible if the complaint contains “factual

  content that allows the court to draw the reasonable inference that the defendant is liable for the

  misconduct alleged,” and if there is “more than a sheer possibility that a defendant has acted

  unlawfully.” Id.




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                                            ARGUMENT

  I.     Heimbach’s Second Motion to Dismiss Should Be Denied under the Law of the Case.

         The law-of-the-case doctrine “posits that when a court decides upon a rule of law, that

  decision should continue to govern the same issues in subsequent stages in the same case.” Arizona

  v. California, 460 U.S. 605, 618 (1983); accord TFWS, Inc. v. Franchot, 572 F.3d 186, 191 (4th

  Cir. 2009). “This rule of practice promotes the finality and efficiency of the judicial process by

  protecting against the agitation of settled issues.” Christianson v. Colt Indus. Operating Corp.,

  486 U.S. 800, 816 (1988) (citation and internal quotation marks omitted). Critically, “when a rule

  of law has been decided adversely to one or more codefendants, the law of the case doctrine

  precludes all other codefendants from relitigating the legal issue.” United States v. Aramony, 166

  F.3d 655, 661 (4th Cir. 1999); accord United States v. Andrews, No. 1:12CR100-1, 2015 WL

  1345380, at *9 (N.D.W. Va. Mar. 23, 2015) (where court “has already dismissed [one defendant’s]

  substantially similar argument, . . . the law of the case doctrine must apply to dismiss [another

  defendant’s] argument as well”); United States v. Chidester, No. 2:14-CR-05-3, 2014 WL

  2040060, at *3 (N.D.W. Va. May 19, 2014) (denying motion filed by defendant because court had

  already rejected argument with respect to co-defendant).

         Here, Heimbach’s Second Motion to Dismiss must be denied because it rehashes exactly

  the same arguments that he and his co-Defendants have already made and that the Court has

  already decided adversely to him. For example:

         •   The Second Motion argues that Plaintiffs’ conspiracy allegations are defective, and that

             “the claim by the plaintiffs that he engaged in conspiracy to commit violence is absurd.”

             ECF No. 520 at 9; see also, e.g., id. at 10–11. This is an argument that Heimbach

             already made regarding the same pleading, e.g., ECF No. 205 at 6-7, and that the Court




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              already rejected, ECF No. 335 at 35 (holding that Plaintiffs “plausibly allege[d] that

              [Heimbach] joined the conspiracy to commit racial violence”).

          •   The Second Motion argues that the First Amendment requires dismissal of the FAC.

              E.g., ECF No. 520 at 1, 3–4, 7–8, 11–12. This is again an argument that Defendants

              have already made regarding the FAC. E.g., ECF No. 95 at 10–12; ECF No. 209 at 6–

              15; ECF No. 213 at 5–19. 4 The Court explicitly rejected this argument, including with

              respect to Heimbach. ECF No. 335 at 35 (“As with other Defendants, the First

              Amendment does not prevent the imposition of liability for the acts of violence alleged

              here.”).

          •   The Second Motion argues that the violence in Charlottesville was not Heimbach’s

              fault but “was due to the inaction of law enforcement,” and that “[l]iability lies with

              the Charlottesville Police Department and violent counter-protesters.” ECF No. 520 at

              3–4. This is also a defense that was previously raised with respect to the FAC, ECF

              No. 209 at 17–18; ECF No. 213 at 5, 9–10, 5 and rejected, ECF No. 335 at 58–59 (noting

              that “other potential causes of violence mentioned by [the Heaphy Report] do not

              undermine Plaintiffs’ allegations about these Defendants’ conspiracy to commit

              violence”). In fact, the Court held that all Plaintiffs (with one exception) had plausibly




   4
           The Court granted Peinovich’s motion to dismiss without prejudice due to a lack of
   “plausible allegations that he joined the conspiracy to commit racial violence,” ECF No. 335 at
   41, not on First Amendment grounds, and his dismissal thus does not undermine the application
   of the law of the case here against Heimbach.
   5
          Again, the Court did not grant Peinovich’s motion to dismiss on the theory that the
   Charlottesville police and antifa were responsible for the violence rather than Defendants, see ECF
   No. 335 at 41, so the law of the case still applies here against Heimbach.


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              “alleged they suffered injuries that were caused by an overt act in furtherance of the

              moving Defendants’ conspiracy,” which Heimbach had joined. ECF No. 335 at 35, 45.

          •   The Second Motion argues that Heimbach and other Defendants had a legal permit to

              march. E.g., ECF No. 520 at 2–4, 6–7, 10. Yet again, Defendants previously raised

              this argument. ECF No. 204 at 7, ECF No. 213 at 7. Indeed, the Court acknowledged

              that Defendants received a permit to hold the rally, but explained that the granting of

              the permit “ex ante” was “completely different” than the “ex post consideration of

              whether Defendants violated specific laws,” including “by conspiring to commit

              violence.” ECF No. 335 at 57 n.7; see also id. at 4–5, 21–22, 53 n.6.

          Because the Court has already decided each of the arguments made in Heimbach’s Second

   Motion adversely to him, the Motion should be denied under the law of the case. See, e.g., TFWS,

   572 F.3d at 191 (“we decline to revisit our prior holdings on these points” under law of the case);

   Aramony, 166 F.3d at 661 (“we are precluded from addressing the argument a second time” under

   law of the case); In re MI Windows & Doors, Inc. Prod. Liab. Litig., No. 2:11-cv-00167-DCN,

   2012 WL 5408563, at *3 (D.S.C. Nov. 6, 2012) (denying motion to dismiss under law of the case

   because “issues were ‘decided explicitly or by necessary implication in the previous disposition’”);

   U.S. ex rel. Staley v. Columbia/HCA Healthcare Corp., 587 F. Supp. 2d 757, 759 (W.D. Va. 2008)

   (denying motion to reconsider dismissal of claims because prior decision “is the law of the case,

   and should be upheld for that reason alone”); City of Charleston v. Hotels.com, 520 F. Supp. 2d

   757, 757 (D.S.C. 2007) (denying Rule 12(b)(6) motion to dismiss under law of the case because

   “the court decided these same issues mere months ago under an identical standard of review” and

   no new material facts had been raised); Streett v. United States, 25 F. Supp. 2d 721, 723 (W.D.

   Va. 1998) (affirming magistrate judge’s denial of motion under law of the case because motion




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   did not “do anything except restate [previous arguments] in another form”) (citation and internal

   quotation marks omitted).

          Although a “court has the power to revisit prior decisions of its own, . . . as a rule courts

   should be loathe to do so in the absence of extraordinary circumstances.” Christianson, 486 U.S.

   at 817. In general, a court may depart from the law of the case where “(1) a subsequent trial

   produces substantially different evidence, (2) controlling authority has since made a contrary

   decision of law applicable to the issue, or (3) the prior decision was clearly erroneous and would

   work manifest injustice.” TFWS, 572 F.3d at 191 (quoting Aramony, 166 F.3d at 661).

          Heimbach has not attempted to show that any such exception applies here. The exception

   for a “trial produc[ing] substantially different evidence” does not apply to a motion to dismiss;

   Heimbach has pointed to no “controlling authority” that was not before the Court on the original

   motions to dismiss, and Plaintiffs are aware of none; and Heimbach has not argued that “the prior

   decision was clearly erroneous”; instead, he has simply reiterated the same points that were

   previously raised and rejected. See id.

   II.    Heimbach’s Second Motion to Dismiss Is Untimely.

          The Court should further deny Heimbach’s Second Motion to Dismiss because it is

   untimely, and no justification for the delay has been shown. Pursuant to a consent motion to which

   Heimbach agreed, the deadline to file a motion to dismiss was January 26, 2018—18 months ago.

   ECF Nos. 186, 187. Heimbach did not file the Second Motion until July 11, 2019. ECF No. 520. 6


   6
           Heimbach did not seek an extension of his time to file the Second Motion (or acknowledge
   either his prior motion or the prior deadline anywhere in his Second Motion). See generally ECF
   No. 520. Even if he had sought such an extension, he would not satisfy the high bar needed to
   receive such an extension of time. “Where a party seeks an extension of time after the Rule 6(b)
   deadline for filing has passed, courts must find excusable neglect before granting the motion. This
   standard is a very high bar, applicable to only the extraordinary cases where injustice would
   otherwise result.” Smith v. Look Cycle USA, 933 F. Supp. 2d 787, 791 (E.D. Va. 2013) (citations
   omitted). “Relevant circumstances for determining excusable neglect are the danger of prejudice,


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   Furthermore, a defendant must make a Rule 12(b) motion before filing an answer. Fed. R. Civ. P.

   12(b) (“A motion asserting any of these defenses must be made before pleading if a responsive

   pleading is allowed.”). Here, Heimbach filed an answer to the FAC on July 23, 2018. ECF No.

   343. Because the deadline to file a motion to dismiss has long passed, because Heimbach has filed

   an answer, and because Heimbach fails to justify the delay (let alone the repetitive motion), the

   Second Motion should be denied as untimely. See, e.g., Stevens v. Showalter, 458 B.R. 852, 856

   (D. Md. 2011) (“Pursuant to the plain language of Federal Rule of Civil Procedure 12(b), it is

   beyond dispute that a motion to dismiss brought pursuant to Rule 12(b)(6) is untimely when

   presented after the filing of an answer.”); Diane Von Furstenberg Studio v. Snyder, No.

   1:06CV1356 (JCC), 2007 WL 1835276, at *2 (E.D. Va. June 25, 2007) (“Defendants answered

   the complaint on January 8, 2007, and waited until four months later to file a motion to dismiss.

   Accordingly, Defendants’ motion is untimely and will be denied.”); cf. Batton v. Commc’ns

   Workers of Am., AFL-CIO, No. 2:13CV426, 2014 WL 5742409, at *8–11 (E.D. Va. Aug. 4, 2014)

   (striking untimely summary judgment opposition), aff’d sub nom. Batton v. Commc’n Workers of

   Am., AFL-CIO, 618 F. App’x 175 (4th Cir. 2015); Smith v. Look Cycle USA, 933 F. Supp. 2d 787,

   790 (E.D. Va. 2013) (striking untimely opposition briefs). 7




   length of delay and potential impact, the reason for the delay, whether the delay was within the
   reasonable control of the movant, and whether the movant acted in good faith.” Id. at 790.
   (citations omitted).
   7
           Even if the Court construed Heimbach’s Motion to Dismiss as a motion for judgment on
   the pleadings brought under Rule 12(c) of the Federal Rules of Civil Procedure, which may be
   brought after the pleadings are closed, that motion should be denied under the law of the case, as
   explained above.


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   III.    Converting Heimbach’s Motion into a Motion for Summary Judgment Would Be
           Premature.

           Throughout his Motion, Heimbach asserts that various allegations in the FAC are incorrect

   or false and presents his own “facts,” without citing or attaching any evidence or exhibits. See,

   e.g., ECF No. 520 at 1 (Plaintiffs’ allegations “are the opposite of what Respondent Heimbach

   actually did during those two days in August of 2017”), 4 (“The research put forward in the

   complaint is shoddy, creating a narrative which puts forward a false image of Respondent

   Heimbach.”), 9 (referring to “the provable fact” that the conspiracy to commit violence “didn’t

   happen”), 11 (“In conclusion, the complaint against Respondent Heimbach is factually incorrect

   in many places . . . .”). In several instances, Heimbach calls Plaintiffs’ allegations “lie[s].” E.g.,

   id. at 3, 9–10.

           As an initial matter, the Court should not credit Heimbach’s factual assertions on a motion

   to dismiss. Rather, “[i]n considering a Rule 12(b)(6) motion, a court must accept all factual

   allegations in the complaint as true and must draw all reasonable inferences in favor of the

   plaintiff.” Morris, 2017 WL 1161888, at *1. Applying that standard, the Court has already held

   that “Plaintiffs have plausibly alleged the Defendants,” including Heimbach, “formed a conspiracy

   to commit the racial violence that led to the Plaintiffs’ varied injuries.” ECF No. 335 at 1.

           In certain circumstances, a Rule 12 motion may be converted into a motion for summary

   judgment. Specifically, “[i]f, on a motion under Rule 12(b)(6) or 12(c), matters outside the

   pleadings are presented to and not excluded by the court, the motion must be treated as one for

   summary judgment under Rule 56.” Fed. R. Civ. P. 12(d). However, if the Court does convert a

   motion to dismiss into a summary judgment motion, “[a]ll parties must be given a reasonable




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   opportunity to present all the material that is pertinent to the motion.” Id.; accord Gay v. Wall,

   761 F.2d 175, 177 (4th Cir. 1985).

          In this case, conversion of Heimbach’s Second Motion to Dismiss into a motion for

   summary judgment and deciding the Motion on that basis would be premature. Plaintiffs must be

   “given a reasonable opportunity to present all the material that is pertinent to the motion,” Fed. R.

   Civ. P. 12(d), but they cannot be given that opportunity here as the bulk of discovery has still not

   occurred in this case. See Gay, 761 F.2d at 177–78 (reversing and remanding for further

   proceedings where motion to dismiss had been treated as summary judgment and plaintiff had not

   been afforded opportunity for reasonable discovery). Heimbach has spent almost an entire year

   evading his discovery obligations, and only recently began participating in discovery after

   Plaintiffs were forced to move for sanctions against him. See ECF Nos. 457, 494, 512, 515, 519.

   Magistrate Judge Hoppe recently set deadlines under which Heimbach will be required, inter alia,

   to produce his responsive documents, turn over his electronic devices to a third-party discovery

   vendor for imaging and production to Plaintiffs, and sit for a deposition regarding his conduct in

   discovery. ECF No. 515. It will take months before Plaintiffs are able to obtain all relevant

   documents from Heimbach and the other Defendants, hold depositions, and otherwise complete

   the discovery needed to prove Plaintiffs’ case. Converting Heimbach’s Motion into a motion for

   summary judgment and deciding it as such a motion would therefore be premature. 8



   8
           Even if converted into a motion for summary judgment, Heimbach’s Motion would be
   meritless even on the current evidentiary record. “[G]enuine dispute[s]” as to “material fact[s]”
   precluding summary judgment, Fed. R. Civ. P. 56(a), already exist regarding many of the factual
   assertions in Heimbach’s Motion. For example, Heimbach’s claim that he “has always opposed
   violence, racial hatred, or the view of White supremacy,” ECF No. 520 at 8, is contradicted by his
   previous encouragement of a police car to run over protesters as well as a “violent drawing of
   Defendant Heimbach wearing a shirt bearing Nazi and Defendant TWP symbols and the words
   ‘nigger killer’ above a tally of ‘communists killed,’ smiling in front of decapitated black men
   wearing logos associated with anti-fascist movements.” ECF No. 335 at 28, 42–43. As the Court


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   IV.      Plaintiffs Are Entitled to Attorneys’ Fees.

            Pursuant to its inherent powers, “a court may assess attorney’s fees when a party has acted

   in bad faith, vexatiously, wantonly, or for oppressive reasons.” Chambers v. NASCO, Inc., 501

   U.S. 32, 45–46 (1991) (affirming award of attorneys’ fees) (citations and internal quotation marks

   omitted); accord Blue v. U.S. Dep’t of Army, 914 F.2d 525, 533 (4th Cir. 1990); Beach Mart, Inc.

   v. L & L Wings, Inc., 302 F.R.D. 396, 405 (E.D.N.C. 2014); Am. Sci. & Eng’g, Inc. v. Autoclear,

   LLC, 606 F. Supp. 2d 617, 620 (E.D. Va. 2008). Here, the Court should use its inherent powers

   to require Heimbach to pay Plaintiffs’ attorneys’ fees and costs for opposing the Second Motion

   to Dismiss. Heimbach’s complete non-participation in discovery followed by filing a motion

   asserting exactly the arguments that have already been made and rejected is the type of “bad faith”

   and “vexatious” behavior meriting an award of fees.

                                             CONCLUSION

            For the foregoing reasons, Plaintiffs respectfully request that the Court deny Defendant

   Heimbach’s Second Motion to Dismiss and order Heimbach to pay Plaintiffs’ attorneys’ fees and

   costs.

   Dated: July 15, 2019                                   Respectfully submitted,

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   has already held, the interpretation of this evidence is a question for the jury. Id. at 28 (“While
   this could potentially be[] taken as very dark hyperbole in some instances, in the light of the later
   events it plausibly alleges a plan for violence.”).


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                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 15, 2019, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

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          I further hereby certify that on July 15, 2019, I also served the following non-ECF
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